      Case 1:20-cv-03095-VEC Document 1 Filed 04/17/20 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________

M.K. and S.K., individually and on behalf of J.K.,
                                                                      COMPLAINT
               Plaintiff,
                                                              Case No. 1:20-cv-3095
       - against -

New York City Department of Education

               Defendant.

_________________________________________


M.K. and S.K., individually and on behalf of J.K., a child with a disability, for their

complaint hereby alleges:

       1. This is an action brought pursuant to the fee shifting provisions of the

Individuals with Disabilities Education Improvement Act ("IDEA"), 20 U.S.C.

§1415(i)(3).

       2. At all times relevant to this action, Plaintiffs M.K. and S.K. and their son J.K.

resided within the territorial jurisdiction of the defendant New York City Department of

Education ("Defendant" or "Department").

       3. Plaintiffs M.K. and S.K. are the parents of a child with a disability as defined

by IDEA, 20 U.S.C. §1401(3)(A).

       4. Defendant is a local educational agency as defined by IDEA, 20 U.S.C.

§1401(19), and, as such, is obligated to provide educational and related programs and

services to its students in compliance with the applicable federal and state statutes,

regulations, and the U.S. Constitution, and is subject to the requirements of 20 U.S.C.

§1400 et seq. and the regulations promulgated thereunder.
        Case 1:20-cv-03095-VEC Document 1 Filed 04/17/20 Page 2 of 4



JURISDICTION AND VENUE

        5. Jurisdiction is predicated upon 28 U.S.C. §1331, which provides the district

courts with original jurisdiction over all civil actions arising under the laws of the United

States, and upon the fee-shifting provision of IDEA, 20 U.S.C. §1415(i)(3)(A), which

provides that the district courts of the United States shall have jurisdiction of actions

brought under section 1415(i)(3) without regard to the amount in controversy.

        6. Venue is predicated upon 28 U.S.C. §1391(b)(1) based upon the residence of

the defendant, and upon 28 U.S.C. §1391(b)(2) based upon the location of the subject

matter of this action.

FACTUAL BACKGROUND AND EXHAUSTION OF ADMINISTRATIVE
PROCESS

        7. By letter dated November 1, 2019, Plaintiffs M.K. and S.K. requested a due

process hearing on behalf of J.K. pursuant to 20 U.S.C. §1415(f)(1).

        8. Plaintiffs M.K. and S.K. sought a determination that the Department had

denied their son a free appropriate public education, an order for compensatory

educational services, and such other relief as the impartial hearing officer would

determine to be fair and just.

        9. Impartial Hearing Officer ("IHO") Martin J. Kehoe III was assigned to the

case.

        10. An impartial hearing was conducted on January 15, 2020.

        11. Following the close of hearing, the IHO issued a decision (“IHO Decision”)

dated February 7, 2020.

        12. The IHO found that the Department had denied the student a free appropriate

public education for the 2019-2020 school year and ordered that the District pay for
      Case 1:20-cv-03095-VEC Document 1 Filed 04/17/20 Page 3 of 4



SETSS services at an enhanced market rate, and to reimburse the Private Agency that is

providing SETSS for the cost of the Wilson Reading Program.

       13. Neither party appealed the decision of the IHO. Thus, the decision is final.

       14. Plaintiff is a prevailing party by virtue of the IHO's decision.

FIRST CAUSE OF ACTION

       15. Plaintiffs repeat and reallege paragraphs 1 through 14 as if more fully set

forth herein.

       16. Plaintiffs have submitted to the Department a request for payment for

services rendered ("attorney fee claim").

       17. Plaintiffs have attempted, without success, to resolve the attorney fee claim.

       18. Settlement negotiations have not occurred because Respondent has been

unresponsive to attempts to initiate settlement discussions.

       19. Plaintiffs hereby demand reasonable attorney fees and expenses pursuant to

20 U.S.C. §1415(i)(3) for services rendered on the above noted administrative

proceedings.

       20. Defendant has not satisfied its obligation to pay attorney fees in a timely

fashion. Thus, Plaintiffs demand prejudgment interest.

SECOND CAUSE OF ACTION

       21. Plaintiffs repeat and reallege paragraphs 1 through 20 as if more fully set

forth herein.

       22. Plaintiffs hereby demand reasonable attorney fees and expenses for services

rendered on this action.
      Case 1:20-cv-03095-VEC Document 1 Filed 04/17/20 Page 4 of 4



       WHEREFORE, Plaintiffs respectfully request that this Court:

       (1) Assume jurisdiction over this action;

       (2) Award to the Plaintiffs costs, expenses, and attorney fees together with

prejudgment interest for the administrative proceedings pursuant to 20 U.S.C. §1415;

       (3) Award to Plaintiffs the costs, expenses, and attorney fees of this action

pursuant to 20 U.S.C. §1415; and

       (4) Grant such other and further relief as the Court deems just and proper.


Dated: April 17, 2020
       New York, New York

                                                                              Respectfully,

                                                                       /s/ Adam Dayan
                                                   _________________________________
                                                            Adam Dayan, Esq. (AD 5445)
                                                                     Attorney for Plaintiff
                                                       Law Offices of Adam Dayan, PLLC
                                                                222 Broadway, 19th Floor
                                                             New York, New York 10038
                                                                   Phone: (646) 866-7157
                                                               Facsimile: (646) 866-7541
                                                              adayan@dayanlawfirm.com
